           Case 1:23-cv-01334-CRC Document 42 Filed 02/09/24 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 HON. PAULINE NEWMAN,

                   Plaintiff,                       Case No. 1:23-cv-01334-CRC

           v.

 HON. KIMBERLY A. MOORE, et al.,

                   Defendants.


                                        RESPONSE
       Two days ago, the Judicial Conference’s JC&D Committee affirmed the Federal Cir-

cuit Judicial Council’s September 20, 2023 order suspending Judge Newman. On the same

day, Defendants submitted a neutral, two-sentence notification to the Court of the JC&D

Committee’s order. ECF No. 40. In response, Plaintiff filed an unauthorized and argumen-

tative “reply” that introduces legal argument and purported factual information for the first

time. ECF No. 41. Defendants dispute both the accuracy and relevance of those legal and

factual points, and request that Plaintiff’s improper submission not be considered for any pur-

pose. If the Court intends to consider it, Defendants respectfully request an opportunity to

respond.




                                              1
       Case 1:23-cv-01334-CRC Document 42 Filed 02/09/24 Page 2 of 2




DATED: February 9, 2024              Respectfully submitted,

                                     BRIAN M. BOYNTON
                                     Principal Deputy Assistant Attorney General

                                     CHRISTOPHER R. HALL
                                     Assistant Director, Federal Programs Branch

                                     /s/ Stephen Ehrlich
                                     STEPHEN EHRLICH
                                     M. ANDREW ZEE
                                     Attorneys
                                     U.S. Department of Justice
                                     Civil Division, Federal Programs Branch
                                     Peter W. Rodino, Jr. Federal Building
                                     970 Broad Street, 7th Floor
                                     Newark, NJ 07102
                                     Phone: (202) 305-9803
                                     Email: stephen.ehrlich@usdoj.gov

                                     Attorneys for Defendants




                                    2
